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                                                                               2018 Dec-04 PM 12:37
                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                     NORTHEASTERN DIVISION


MICHAEL BARNES, as the                   }
personal representative of the estate    }
of Gabriel Sage Barnes,                  }
                                         }
      Plaintiff,                         }
                                         }
v.                                       }   Case No.: 5:18-cv-00929-MHH
                                         }
BRYAN SMITH,                             }
                                         }
      Defendant.                         }


                                    ORDER

      Plaintiff Michael Barnes, as personal representative of the estate of Gabriel

Sage Barnes, and Defendant Bryan Smith have filed a Joint Stipulation of

Dismissal with prejudice. (Doc. 18). The Court ORDERS that this action is

DISMISSED WITH PREJUDICE, with each party to bear their own costs.

      The Court DIRECTS the Clerk of Court to please close the file.

      DONE and ORDERED this December 4, 2018.


                                   _________________________________
                                   MADELINE HUGHES HAIKALA
                                   UNITED STATES DISTRICT JUDGE
